                        Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 1 of 6



FD-597(Rcv. 4-13-2015)

                               UNITED STATES DEPARTMENT OF JUSTICE
                                     FEDERAL BUREAU OF INVESTIGATION
                                             Receipt for Property

Case 1D;|
            On (date)                             item (s) listed below were:
                                                 pel Collected/Seized
                                                  3 Received From
                                                  3 Returned To
                                                  n   Released To




(Street Address)




                                                          Received From:
Received By: _


Printed Name/Titie:       _                               Printed Name/Title:
                   Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 2 of 6




(Street Address)




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                   Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 3 of 6




(Street Address)




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                       Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 4 of 6


FD-597(Elev. 4-13-2015)

                              UNITED STATES DEPARTMENT OF JUSTICE
                                                          JUS
                                    FEDERAL BUREAU OF INVESTIGATION
                                            Receipt for Property

Case ID:

           On (date)                                   (s) listed below were:
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Description ofItem Mr /gt»M H '               -t                                [d-"!
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                           Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 5 of 6



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                                       UNITED STATES DEPARTMENT OF JUSTICE
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Case ID:I

         On (date)                                              item (s) listed below were:
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                       Case 1:18-cr-10200-FDS Document 8-1 Filed 07/10/18 Page 6 of 6


F0-597(Rov. 4-13-2015)

                                UNITED STATES DEPARTMENT OF JUSTICE
                                       FEDERAL BUREAU OF INVESTIGATION
                                                      Receipt for Property ^

Case ID:

           On (date)                                       item (s) listed below were:
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(Name)

(Street Address)




Description ofItem (s):

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